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MEMORANDUM

TO:           Jean Brandl, Manny Atwal

FROM:         Mary McKinley, Executive Director, Heartland Democracy

DATE:         January 24, 2015

RE:           Update on project

Following the last continuance of the hearing for Mr. Abdullahi Yusuf, we continued our
work creating a very specific and concrete program and schedule into which Mr. Yusuf
would integrate upon his release. Because we are developing this project in a
somewhat different order than we normally operate—demand first, highly specific and
unique participant needs up front, then new partners and additional research, and
funding last--and on a much more accelerated schedule, the process has been new for
us. However, we feel we are making progress on your concerns and those of the Court
and government.

We agree with you and the public statements of the US Attorney that we need to
change the discussion on this issue. We are not naïve about the threats of terrorism. In
fact, both Tom Vellenga, the founder of Heartland Democracy, and I have significant
experience on the security aspects of this case. Tom worked for years in Washington, in
the Senate and then at USAID, and then as national security advisor to then Chief of
Staff Leon Panetta in the Clinton White House. I returned to Minnesota five years ago
after working first overseas for the Open Society Institute, and then in Washington for
the Aspen Institute, on their foreign and defense policy roundtables. I most recently
had worked as associate director of the Markle Foundation on National Security,
launched after 9/11. My director there went on to lead the 9/11 Commission.

We understand that there are real and violent elements involved in this challenge. Here
in Minnesota, the good news is that the Somali-Americans we are all talking about and
working with are also Minnesotans, people who have lived here and invested in our
communities for decades. It is in Minnesota’s vital interest to help the young men and
women of this community discover the power to improve their lives here in the United
States, through productive and peaceful means, rather than through extremist
ideologies that lead, in most cases, to their own certain death. When such young
Somali-Americans learn their place in the fabric of American life, see their own place in
American systems and institutions, and empower themselves within their own
communities, they will not only help themselves – they will improve our national and
homeland security.

We are all familiar with other life-threatening options chosen by disaffected young
people of all communities who believe that their lives are without value: gang activity,
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criminal behavior, violence, firearm use, dropping out of school, severing ties with
family, drug use, and trafficking. We would like to use the strength of Empowering U
and all of its assets to change the discussion around these Somali young people. We
also know that while this case is unique, given the circumstances, we recognize that if
Mr. Yusuf is allowed pre-trial release, he will be as responsible for his behavior and
choices as anyone charged and monitored by Probation Officers and other authorities.
We believe we can participate as one key aspect of that “authority”.

After meeting with Mr. Yusuf and talking with him about his situation, his life, his
desires, his interests, we feel the components of what we are building would meet both
his needs and those of law enforcement:

   •    We are working to re-enroll Mr. Yusuf in community college, most likely
        Minneapolis Community and Technical College (MCTC), to give him an academic
        and social “home” where he can attend class, study, engage with peers, and
        participate in our program, both within a group setting and receiving one-on-one
        mentoring and counseling. MCTC also has a relationship with one of Mr. Yusuf’s
        high schools, Heritage, and has a large Somali-American student body. Mr. Yusuf
        plans to focus on his general education courses as well as paramedic coursework
        he enjoyed at Inver Hills.
   •    We think it will be most useful for Mr. Yusuf to be among his peers to explore
        issues of life, school, culture, family, and the future. He will also participate in
        specific, more intense programs designed for his particular situation. We are
        recruiting other Somali-American students for the group portions of this
        program because of the unique cultural issues of Somali-Americans, but not
        necessarily those labeled as “at-risk” other than the fact that they are perhaps
        first generation college-goers (though many are not).
   •    When we described to Mr. Yusuf the parallel “Empower Parents” group we
        intend to launch, to assist parents of young Somali-Americans with the specific
        challenges they face, Mr. Yusuf said, “It’s like we young people live in two
        different worlds. We go to school, we speak English, we are American. And then
        we go home and when we walk in the door it’s like walking into a different
        country. It’s like Somalia, and our parents are very worried about what’s going
        on there.” We think an adult curriculum will be key -- including parenting,
        mental health, safety and education issues, addressing the “generation gap”, as
        well as our standard civics and civic engagement material.
   •    To begin Mr. Yusuf’s re-engagement with community, we are pursuing a
        partnership that will help him pursue two of his expressed interests
        simultaneously: basketball and teaching. When we asked Mr. Yusuf if he would
        like to help coach a junior basketball team, his face lit up. We are seeking an
        appropriate mentor at the YMCA to partner with us on this aspect of the
        program.
   •    We explained to Mr. Yusuf that one of the sustaining elements of our program is
        that we “teach the teachers”. We talked about his becoming a co-coach after
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        completing several months of the program himself. He could then help lead
        sessions of other young people, developing leadership skills, teaching elements
        of the curriculum to his peers, leading discussions, speaking to his experience,
        and serving as a mentor to others in the future.
   •    We are working with and training a number of mentors, coaches and teachers --
        people who have worked with at-risk young people, both within the Somali-
        American community and in other settings, including juvenile justice. We are
        also working with people well-versed in the kind of “turn-around curriculum” we
        use. Of course, we are facing a number of challenges, including scheduling
        issues and other unknowns, our current lack of significant funds for the program
        we are designing, as well as the new and emerging curriculum and methodology
        we are weaving into our existing program data. We have connected with several
        skilled and enthusiastic individuals who are highly motivated to address the
        issues we’ve highlighted and who look forward to working with these young
        members of our community.
   •    On that note, we are connecting and re-connecting with local, national and
        international leaders on these topics, to support us in developing this new aspect
        of our work, including: Ms. Zainab Hassan, a good friend to Heartland, formerly
        of the Minneapolis Foundation, who is now rebuilding the National Library in
        Somalia; Claude Maddox, who coached our program at 180 Degrees in St. Paul
        for over 2 years; Maajid Nawaz, noted author and founder of Quillium, a
        counter-extremism think tank in the UK; and Salam Al Marayati, of the Muslim
        Public Affairs Council. These leaders and experts, along with others we are
        reaching out to, will work with our existing local team to augment and adapt our
        current program and curriculum to meet the needs of Mr. Yusuf and other young
        Somali-Americans in Minnesota. As with any educational program, this will
        continue to be a work in progress.
   •    We are also working diligently and daily to reach out to our most supportive
        donors and friends at local foundations, but the funding component remains a
        puzzle, at least for the time being. Both individual donors and foundations (our
        typical funding sources) are reluctant to fund something that is being so quickly
        adapted for a specific participant/small group, and, as we all know, most public
        and private funding takes months to secure. There is interest, to be sure, and
        our hope is that we could establish a funding partnership of public, foundation,
        and individual donors that would support the broader program going forward,
        reaching more young people beyond Mr. Yusuf’s immediate cohort at Inver Hills.
        We could launch a small portion of this program with reserve funds, but
        additional funding would need to be secured rapidly to continue the program
        long-term and ensure its expansion to other communities.

Make no mistake: we realize this would be an experiment, a pre-trial release program
unlike any other, especially in dealing with the ISIL threat and the counter-terrorism
efforts that are the focus of the US government, the FBI, the US Attorney, law
enforcement, and the White House. However, we hope with you we might succeed in a
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launch of the program for young Somali-Americans, into which Mr. Yusuf (and others?)
could integrate in the future.

We are now in the process of securing the following: a concrete series of programs,
with dates, locations, coaches, coach trainees, evaluators, and a new curriculum
developed for this particular population. We would all like to know what a “day in the
life of Mr. Yusuf” would look like. While we can not, as mentioned above, be his only
destination during his release, we can provide some structure and much-needed
mentorship, which might lead to his gradual re-connection with civil society in his
Somali-American community and, at the very least, a gradual rejection of whatever
violent ideology he allegedly was seeking.

Regardless of the outcome of Mr. Yusuf’s case, we are committed to pursuing this
project with a larger set of young Somali-Americans. This community has been the
victim of benign neglect, and we know the consequences: youth involved in violence,
gangs, drug use and trafficking, high rates of poverty, extremely high unemployment
rates, and now terrorism.

Beyond the specifics of this case there lies a wider issue for our organization: how do we
commit to our work within the Somali community on a broader level, creating
opportunities for vast numbers of young people to participate in a program that will
lead to deeper understanding of their own rights and responsibilities, their own power
to affect change, their own community, and its institutions?
